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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
CITY OF HOLLYWOOD                           )   Civ. No. 24-cv-1743 (JMB/DTS)
FIREFIGHTERS’ PENSION FUND,                 )
Individually and on Behalf of All Others    )   CLASS ACTION
Similarly Situated,                         )
                                                DECLARATION OF TIM SULLIVAN IN
                                            )
                           Plaintiff,           SUPPORT OF LEAD PLAINTIFF’S
                                            )
                                                UNOPPOSED MOTION FOR LEAVE TO
                                            )
         vs.                                    FILE SUPPLEMENTAL
                                            )
                                                CONSOLIDATED COMPLAINT FOR
UNITEDHEALTH GROUP INC., et al.,            )
                                                VIOLATIONS OF THE FEDERAL
                                            )
                                                SECURITIES LAWS
                           Defendants.      )
                                            )




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         I, TIM SULLIVAN, declare as follows:

         1.         I am an attorney duly licensed to practice before all of the courts of the State of

Minnesota. I am a member of the law firm of Somermeyer Sullivan PLLC, one of the

counsel of record for plaintiff in the above-entitled action. I have personal knowledge of the

matters stated herein and, if called upon, I could and would competently testify thereto.

         2.         Attached hereto as Exhibit A is a true and correct redline copy of the

[Proposed] Supplemental Consolidated Complaint for Violations of the Federal Securities

Laws showing the proposed supplemental additions. Exhibit A includes numbered Exhibits

1-11, with the new OIG report and two new investigative reports as Exhibits 5-6 and 10.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

November 22, 2024, at Minneapolis, Minnesota.

                                                                 s/ TIM SULLIVAN
                                                               TIM SULLIVAN




                                                   -1-
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